                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CRAWL SPACE DOOR SYSTEM, INC., d/b/a                          :
CRAWL SPACE DOOR SYSTEMS, INC.,                               :
                                                              :
                                               Plaintiff,     :     CIVIL ACTION
                                                              :     Case No. 2:22-cv-004698-GAM
               v.                                             :
                                                              :
WHITE & WILLIAMS LLP,                                         :
                                                              :
                                               Defendant.     :

                WHITE AND WILLIAMS LLP’S REPLY MEMORANDUM
                  IN FURTHER SUPPORT OF MOTION TO DISMISS

        Defendant White and Williams LLP (“W&W”) files this Reply Memorandum in further

support of its Motion to Dismiss the Amended Complaint of plaintiff Crawl Space Door System,

Inc. d/b/a Crawl Space Door Systems, Inc. (hereinafter “Crawl Space”). The issue is whether

Crawl Space has failed to state a claim against W&W pursuant to Fed. R. Civ. P. 12(b)(6) where

it failed to bring its malpractice claim as a compulsory counterclaim in the attorneys’ fees

collections case before this Court, and also failed to assert its antitrust claims by way of

counterclaim when it was sued by Smart Vent in 2015 in the District of New Jersey. As a

consequence of the second failure, Crawl Space has no damages as a matter of law because the

antitrust claims that Crawl Space contends were damaged by WW had no value.

        A. The Law of this Forum Governs the Parties’ Compulsory Counterclaim Dispute.

        Plaintiff’s assertion that the “inherent procedural nature” of its malpractice claim

warrants application of Fourth Circuit precedent is a misstatement of well-established law. Under

the Erie Doctrine, a federal court sitting in diversity must apply the law of the forum state to

questions that are “substantive” and must use federal rules to govern “procedural” matters. Erie




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R.R. Co. v. Tompkins, 304 U.S. 64, 92 (1938); Yohannon v. Keene Corp., 924 F.2d 1255, 1265

(3d Cir. 1991).

        Plaintiff’s argument in favor of “Fourth Circuit and Virginia law” must be rejected

because the cases relied upon by Crawl Space apply when courts face a conflict of laws question

following transfer of venue. Where the only issue before this Court is applicability of the

compulsory counterclaim rule (i.e., procedural), a choice of law analysis is unnecessary. See e.g.

Klaxon Co. v. Stentor Electric Mfg. Co., Inc., 313 U.S. 487 (1941) (holding that federal court

sitting in diversity must engage in choice of law analysis to determine which state’s substantive

law applies). As noted by Crawl Space, where a case is transferred from one federal court

district to another pursuant to 28 U.S.C. § 1404(a) “for the convenience of the parties,” the

transferee court must apply the choice of law rules of the transferor court. Ferens v. John Deere

Co., 494 U.S. 516, 530-31 (1990); see also Van Dusen v. Barrack, 376 U.S. 612 (1964) (“A

change of venue under § 1404(a) generally should be, with respect to state law, but a change of

courtrooms.”); Arnica Mut. Life Ins. Co. v. Fogel, 656 F.3d 167, 171 (3d Cir. 2011) (same).

However, the transferee court applies the law applicable in the forum state for a transfer ordered

for improper venue or lack of jurisdiction. Lafferty v. St. Riel, 495 F.3d 72, 77 (3d Cir. 2007);

Panthera Rail Car LLC v. Kasgro Rail Corp., 2013 U.S. Dist. LEXIS 118427, at *17 (W.D. Pa.

Aug. 21, 2013) (“the applicable choice of law rules depends on the nature of the transfer.”).

        Here, Crawl Space falsely asserts that this matter was transferred from the District Court

of Virginia pursuant to Fed. R. Civ. P. § 1404(a) despite the November 22, 2022 Memorandum

Order (attached hereto as Exhibit “A”) expressly stating:

                  For the reasons stated below, the Court FINDS that it lacks
                  personal jurisdiction over White & Williams . . . and ORDERS
                  this case to be TRANSFERRED to the United States District Court
                  for the Eastern District of Pennsylvania.


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See Exhibit A (emphasis added). Far from stating that the matter is transferred “for the

convenience of the parties” under § 1404(a), the attached Order is clear that transfer was

necessary for lack of personal jurisdiction pursuant to 28 U.S.C.S. § 1631.1 Id. at 9. Neither

Fourth Circuit nor Virginia law applies here, where the transferor court was never a proper forum

in the first instance.

         B. Crawl Space Was Required to Assert Malpractice Claims by Counterclaim in
            the Pennsylvania Fee Collection Case

         For the reasons and based on the cases cited by WW at pp. 7-9 of its opening

memorandum, Crawl Space’s response to WW’s claim for unpaid legal fees should have

included a counterclaim for malpractice or it was waived. There is indisputably a logical

relationship between a claim for fees and a counterclaim for malpractice; they both involve the

work performed by WW for Crawl Space. “The party raising the malpractice claim is in effect

asserting a defense of failure to perform to the lawyer's claim for breach of contract. The

testimony and documents necessary to litigate both claims are likely to be substantially the

same.” L. Offs. Of Jerris Leonard, P.C. v. Mideast Sys., Ltd., 111 F.R.D. 359, 361 (D.D.C.

1986).

         C. Crawl Space Has Not Refuted or Even Responded to WW’S Contention That
            Crawl Space was Required to Raise its Antitrust Claims by Counterclaim in the
            New Jersey Litigation

         The New Jersey litigation began with Smart Vent filing a Complaint in the District of

New Jersey against Crawl Space in 2013 for 1) Unfair Competition under the Lanham Act, 15

U.S.C. § 1125; 2) Unfair Competition under New Jersey Statute (Amended) §§ 56:4-1 and 2; 3)

Common Law Unfair Competition; 4) Negligent Misrepresentation; and 5) Federal Trademark



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 The court also notes that alternatively, even if the Eastern District of Virginia had personal jurisdiction over W&W
(which it did not), transfer would be appropriate under § 1404(a).

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Infringement under 15 U.S.C. § 1114 (ECF 3, Am. Compl.at ¶ 1-2). Crawl Space filed a

Counterclaim for false advertising, unfair competition, and trademark cancellation (Am. Compl.,

¶ 19). WW argued in its opening memorandum that Crawl Space had to raise its purported

antitrust claims by counterclaim because those claims were closely related to the unfair

competition and other Smart Vent claims in the New Jersey Litigation.     The consequence of not

doing so is that the claims are waived. Rule 13(a). Crawl Space has no claim for damages in

this case because it lost nothing as a matter of law because the antitrust claims were worthless

once waived.

         Crawl Space does not recognize or respond to that contention. The Motion should

therefore be granted on that basis alone

         D. Conclusion

         Because Crawl Space did not file counterclaims for antitrust violations against Smart

Vent, it waived its antitrust claims and cannot maintain an action against WW because Crawl

Space in 2019 did not have valuable antitrust claims. Crawl Space also failed to assert its alleged

malpractice claim against WW in response to the fee complaint, and thereby waived that claim.

The Motion should be granted on either ground.

                                                         WHITE AND WILLIAMS LLP



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Dated:     January 26, 2023


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EXHIBIT “A”
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division

 CRAWL SPACE DOOR SYSTEM,
 INC., d/b/a CRAWL SPACE DOOR
 SYSTEMS, INC.

        Plaintiff,

 v.                                                   Civil Action No. 2:22-CV-00199 (EWH)

 WHITE & WILLIAMS, LLP,

        Defendant.


                                   MEMORANDUM ORDER

        This matter is before the Court on White & Williams, LLP’s (“Defendant” or “White &

 Williams”) motion to dismiss for lack of personal jurisdiction, improper venue, and failure to state

 a claim. ECF No. 9. For the reasons stated below, the Court FINDS that it lacks personal

 jurisdiction over White & Williams. However, in the interest of justice, the Court DENIES

 Defendant’s Motion to Dismiss for lack of personal jurisdiction and ORDERS this case be

 TRANSFERRED to the United States District Court for the Eastern District of Pennsylvania. As

 a result, the Court does not reach a decision on Defendant’s other grounds for dismissal.

                                        I. BACKGROUND

        This is a legal malpractice action brought by a Virginia-based client, Crawl Space Door

 System, Inc. (“Crawl Space” or “Plaintiff”), against a Pennsylvania-based law firm, White &

 Williams. Am. Compl. ¶¶ 1, 9–10, ECF No. 3. The malpractice claim arises from White &

 Williams’s representation of Crawl Space in a civil action before the United States District Court

 for the District of New Jersey. Am. Compl. ¶ 2. Crawl Space alleges that during White &

 Williams’s representation of Crawl Space in the New Jersey litigation, the firm knew about facts

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 and legal theories relied on by Crawl Space in a related action before this Court. Am. Compl. ¶ 6.

 Although the facts and legal theories were allegedly not actionable under the pending claims in

 the New Jersey litigation, Crawl Space alleges that White & Williams nevertheless presented them

 to the New Jersey jury. Am. Compl. ¶ 5, 56. Crawl Space asserts that White & Williams’s use of

 the facts and theories in the New Jersey case precluded it from pursuing the same theories in the

 Virginia litigation. Am. Compl. ¶¶ 57. Crawl Space brings a legal malpractice claim, alleging the

 firm failed to exercise the knowledge and skill of attorneys of ordinary ability, and seeks

 $30,000,000 in damages. Am. Compl. ¶¶ 55–58.

        This is not the first lawsuit between the parties since the conclusion of the New Jersey

 litigation. On November 23, 2021, a collection agency acting on behalf of White & Williams filed

 a lawsuit in Pennsylvania state court against Crawl Space to recover over $670,000 in unpaid legal

 fees. Phila. Pro. Collections LLC v. Crawl Space Door Sys., Inc., 2:21-cv-05476 (E.D. Pa. Dec.

 16, 2021) (the “Pennsylvania action”). That action was removed to the United States District Court

 for the Eastern District of Pennsylvania on December 16, 2021. On January 6, 2022, Crawl Space

 filed a motion to transfer the Pennsylvania action to New Jersey. That motion was denied. Crawl

 Space then filed this malpractice action on May 11, 2022, and subsequently moved the

 Pennsylvania district court to transfer the Pennsylvania action to this Court. That motion was also

 denied. Now pending before the Court is White & Williams’s motion to dismiss for lack of

 personal jurisdiction, improper venue, and failure to state a claim.

                                     II. LEGAL STANDARD

        A defendant may move to dismiss a case for lack of personal jurisdiction. Fed. R. Civ. P.

 12(b)(2). “When a defendant moves to dismiss for lack of personal jurisdiction, the plaintiff

 ultimately bears the burden of proving to the district court judge the existence of jurisdiction over



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 the defendant by a preponderance of the evidence.” New Wellington Fin. Corp. v. Flagship Resort

 Dev. Corp., 416 F.3d 290, 294 (4th Cir. 2005) (citing Combs v. Bakker, 886 F.2d 673, 676 (4th

 Cir. 1989)). However, if the court resolves the 12(b)(2) motion without conducting an evidentiary

 hearing, “the burden on the plaintiff is simply to make a prima facie showing of a sufficient

 jurisdictional basis in order to survive the jurisdictional challenge.” Combs v. Bakker, 886 F.2d

 673, 676 (4th Cir. 1989). When making such a ruling, “the court must construe all relevant pleading

 allegations in the light most favorable to the plaintiff, assume credibility, and draw the most

 favorable inferences for the existence of jurisdiction.” Id. If the Court finds that it lacks

 jurisdiction, it may dismiss the case or, “if it is in the interest of justice, transfer such action or

 appeal to any other such court . . . in which the action or appeal could have been brought at the

 time it was filed or noticed.” 28 U.S.C. § 1631.

        For a federal district court to exercise personal jurisdiction over a defendant, such

 jurisdiction must comport with the long arm statute of the state where the district court sits and

 must satisfy the standards of the Fourteenth Amendment’s Due Process Clause. Consulting Eng’rs

 Corp. v. Geometric Ltd., 561 F.3d 273, 277 (4th Cir. 2009). Virginia’s longarm statute extends

 personal jurisdiction to the fullest amount permitted by the Due Process Clause. Id. (citing Young

 v. New Haven Advocate, 315 F.3d 256, 261 (4th Cir. 2002)). As a result, the “statutory inquiry

 merges with the constitutional inquiry.” Id.

        To satisfy due process, a defendant must have sufficient “minimum contacts” with the

 forum state “such that the maintenance of the suit does not offend ‘traditional notions of fair play

 and substantial justice.’” Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945) (quoting Milliken

 v. Meyer, 311 U.S. 457, 463 (1940)). There are two types of personal jurisdiction: general and

 specific. ALS Scan, Inc. v. Digit. Serv. Consultants, Inc., 293 F.3d 707, 711 (4th Cir. 2002) (citing



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 Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414 (1984)). General personal

 jurisdiction requires that the Defendant’s contacts with the state be so “continuous and systematic”

 that jurisdiction is established over the defendant for any conduct. Id. at 712. Establishing specific

 jurisdiction is less burdensome but only extends over conduct which connects the defendant to the

 state. Id. at 711. The Fourth Circuit has synthesized the specific personal jurisdiction inquiry to a

 three-part test under which the Court considers “(1) the extent to which the defendant ‘purposefully

 avail[ed]’ itself of the privilege of conducting activities in the State; (2) whether the plaintiffs’

 claims arise out of those activities directed at the State; and (3) whether the exercise of personal

 jurisdiction would be constitutionally ‘reasonable.’” ALS Scan, Inc., 293 F.3d at 712 (alterations

 in original) (quoting Christian Sci. Bd. of Dirs. of the First Church of Christ v. Nolan, 259 F.3d

 209, 216 (4th Cir. 2001)). The first factor of this test is dispositive. Consulting Eng’rs Corp., 561

 F.3d at 278. If plaintiff does not make a prima facie showing that the defendant purposefully

 availed itself of the state, the court need not consider the other two prongs. Id. (“If, and only if, we

 find that the plaintiff has satisfied this first prong of the test for specific jurisdiction need we move

 on to a consideration of prongs two and three.”).

                                           III. DISCUSSION

                                       A. Personal Jurisdiction

         In determining whether the Court has personal jurisdiction over White & Williams, the

 Court will evaluate whether it has specific jurisdiction. 1 As to the first factor, requiring that the




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         The Court will not consider whether it has general jurisdiction over White & Williams
 because Crawl Space does not allege this point and its Complaint suggests it seeks to establish
 only specific jurisdiction. See Am. Compl. ¶ 12 (“White & Williams purposefully availed itself of
 the privilege of conducting activities in Virginia, Crawl Space’s claims against White & Williams
 arise out of the activities of White & Williams directed at Virginia” (emphasis added)).
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 defendant purposefully availed itself of the privilege of conducting business in the state, the Fourth

 Circuit has instructed courts to consider several nonexclusive factors:

        (1) whether the defendant maintains offices or agents in the forum state; (2) whether
        the defendant owns property in the forum state; (3) whether the defendant reached
        into the forum state to solicit or initiate business; (4) whether the defendant
        deliberately engaged in significant or long-term business activities in the forum
        state; (5) whether the parties contractually agreed that the law of the forum state
        would govern disputes; (6) whether the defendant made in-person contact with the
        resident of the forum in the forum state regarding the business relationship; (7) the
        nature, quality and extent of the parties’ communications about the business being
        transacted; and (8) whether the performance of contractual duties was to occur
        within the forum.

 Hirsch v. Johnson, No. 1:14cv332, 2014 WL 2916748, at *4 (E.D. Va. June 26, 2014) (citing

 Consulting Eng’rs Corp., 561 F.3d at 278).

        In this case, the Amended Complaint indicates that White & Williams represented Crawl

 Space in litigation before the United States District Court for the District of New Jersey for

 approximately four years. Am. Compl. ¶¶ 20, 31. Crawl Space additionally alleges that “White &

 Williams reached out into Virginia and created a continuing relationship” with Plaintiff—a

 Virginia company—and that throughout that relationship, Defendant “sen[t] and receive[ed]

 innumerable messages and documents electronically and otherwise.” Am. Compl. ¶ 12, ECF No.

 3. While the length of the business relationship and substantial communication between the parties

 may be two indicia of purposeful availment, reviewing the Amended Complaint as a whole, the

 Court cannot conclude that White & Williams purposefully availed itself of doing business in

 Virginia.

        Crawl Space argues that White & Williams purposefully availed itself of Virginia by

 contracting to provide legal services to Crawl Space, a Virginia corporation. However, numerous

 courts have recognized that “a contract alone does not automatically establish minimum contacts

 in the plaintiff’s home forum.” New Venture Holdings, LLC v. DeVito Verdi, Inc., 376 F. Supp. 3d


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 683, 692 (E.D. Va. 2019) (quoting Boschetto v. Hansing, 539 F.3d 1011, 1017 (9th Cir. 2008));

 see also Burger King Corp. v. Rudzewicz, 471 U.S. 462, 478–79 (1985) (explaining that a contract

 with an in-state party alone cannot establish sufficient minimum contacts, but instead the court

 must evaluate the “prior negotiations and contemplated future consequences, along with the terms

 of the contract and the parties’ actual course of dealing”). Rather, there must be actions undertaken

 by the defendant that create a “substantial connection” with the forum state. New Venture

 Holdings, LLC, 376 F. Supp. 3d at 692 (quoting Burger King Corp., 471 U.S. at 475).

        Perhaps recognizing this requirement, Crawl Space’s Amended Complaint additionally

 asserts in a conclusory fashion that White & Williams “reached out into Virginia and created a

 continuing relationship.” Am. Compl. ¶ 12. But this allegation, even viewed in the light most

 favorable to Plaintiff, cannot be interpreted to mean that White & Williams solicited Crawl Space’s

 business, an important factor in evaluating purposeful availment. See Masselli & Lane, PC v.

 Miller & Schuh, PA, No. 99-2440, 2000 WL 691100, at *2 (4th Cir. May 30, 2000) (collecting

 cases and observing that “when a case involves legal representation by an out-of-state law firm,

 courts emphasize the importance of . . . who initiated the contact”). As noted above, entering into

 a contractual relationship is different than soliciting that relationship. The Amended Complaint is

 silent as to whether White & Williams solicited Crawl Space’s business or initiated contractual

 negotiations, or vice versa. Further, the Amended Complaint does not allege how and where

 contract negotiations occurred; whether the parties contractually agreed that Virginia state law

 would govern their agreement; or whether attorneys for White & Williams came to Virginia during

 the business relationship. 2 As a result, Crawl Space’s legal assertion regarding White & Williams



 2
         As discussed above, the Court’s inquiry is confined to whether Crawl Space makes a prima
 facie showing that the Court may exercise personal jurisdiction over White & Williams. However,
 the Court does note that Defendant’s memorandum in support of its motion to dismiss
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 “reach[ing] out into Virginia,” without more, does not weigh in favor of finding purposeful

 availment.

        Plaintiff’s final allegation that White & Williams “sen[t] and receive[ed] innumerable

 messages and documents electronically and otherwise,” while weighing in favor of finding

 personal jurisdiction, is insufficient to meet this burden. Correspondence alone, particularly in

 today’s digital age, is insufficient to establish personal jurisdiction. See Hirsch, 2014 WL 2916748,

 at *5 (“Correspondence alone, however, is not sufficient to establish minimum contacts that satisfy

 due process.”). Even when considering those communications together with an existing contract,

 a plaintiff must allege facts regarding the extent and nature of the communications that demonstrate

 purposeful availment. See e.g. Consulting Eng’rs Corp., 561 F.3d at 279–80 (finding that “four

 telephone conversations and twenty-four emails, eight of which were sent by [the defendant]”

 along with a contract were insufficient to establish personal jurisdiction); Le Bleu Corp. v.

 Standard Capital Grp., Inc., 11 F. App’x 377, 380–81 (4th Cir. 2001) (upholding the district courts

 finding that “some mail and telephone calls” between the parties, two visits to the forum state by

 defendant’s employees, and the fact that payment on the contract was mailed from North Carolina,

 were insufficient to establish purposeful availment). Crawl Space’s generalized allegation fails to

 meet this burden.

        The remaining factual allegations of the Amended Complaint weigh overwhelmingly

 against a finding that White & Williams purposefully availed itself of Virginia. The Amended




 (“Defendant’s Memorandum”) contains several allegations related to solicitation and contract
 formation. White & Williams alleges that Crawl Space’s President contacted a partner located in
 the firm’s Philadelphia Office and requested that White & Williams represent Crawl Space in the
 New Jersey litigation. Def.’s Mem., Ex. A at 13, ECF No. 10-1. That partner then sent Crawl Space
 an engagement letter, which Crawl Space signed and then returned to White & Williams in
 Pennsylvania. Def.’s Mem., Ex. A at 13.
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 Complaint alleges that White & Williams is headquartered in Pennsylvania and maintains no

 offices within the state of Virginia, Am. Compl. ¶ 10; that the law firm was hired by Crawl Space

 to defend the company in a lawsuit brought against it in the United States District Court for the

 District of New Jersey, Am. Compl. ¶ 17; that the case was ultimately tried in that court, Am.

 Compl. ¶ 31; and that the actions giving rise to the malpractice claim occurred in New Jersey, see

 Am. Compl. ¶ 15 (“The acts complained of in this matter occurred in the venue of the United States

 District Court for the District of New Jersey . . . and therefore substantive laws of the state of New

 Jersey apply.”). Assessing these facts, it appears as though the parties contemplated that White &

 Williams’s performance under the contract would occur outside of Virginia and that the locus of

 the parties’ course of dealing was overwhelmingly directed at New Jersey. See Tire Eng’g &

 Distrib., LLC v. Shandong Linglong Rubber Co., 682 F.3d 292, 302 (4th Cir. 2012) (“[W]e have

 determined that purposeful availment was lacking in cases in which the locus of the parties’

 interaction was overwhelmingly abroad.”).

        The core of the Court’s inquiry is whether—when viewing the totality of Crawl Space’s

 allegations about White & Williams’s contacts with Virginia—there is a sufficient basis to exercise

 specific personal jurisdiction. There is not. In essence, Plaintiff seeks to base personal jurisdiction

 solely on the existence of a contractual relationship with a Virginia resident and unspecified

 communications between the parties. These allegations are insufficient to conclude that White &

 Williams purposefully availed itself of Virginia. And, as outlined above, the other relevant facts

 alleged by Crawl Space in its Amended Complaint support the conclusion that White & Williams

 did not purposefully avail itself of Virginia. Because Plaintiff fails to make a prima facie showing

 that White & Williams purposefully availed itself of doing business in Virginia, the Court’s inquiry




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 with respect to the motion to dismiss is at an end. The Court finds that it lacks personal jurisdiction

 over White & Williams.

         Nevertheless, transfer of the case to the Eastern District of Pennsylvania is appropriate

 rather than dismissal. A court finding a lack of personal jurisdiction may transfer the action to “any

 other such court in which the action . . . could have been brought at the time it was filed or noticed.”

 28 U.S.C. § 1631. This matter could have been initially brought in the United States District Court

 for the Eastern District of Pennsylvania. Defendant White & Williams resides in that judicial

 district. Accordingly, it is subject to that court’s personal jurisdiction and venue would also be

 proper under 28 U.S.C. § 1391(b)(1). Further, that court is currently handling a related action that

 also stems from White & Williams’s representation of Crawl Space in the New Jersey litigation,

 Philadelphia Professional Collections LLC v. Crawl Space Door System, Inc., 2:21-cv-05476

 (E.D. Pa.). As a result, the Court finds that it is in the interest of justice to transfer the case to the

 Eastern District of Pennsylvania rather than dismiss it.

                               B. Transfer Under 28 U.S.C. § 1404(a)

         Alternatively, even if the Court had personal jurisdiction over the Defendant, transfer under

 28 U.S.C. § 1404(a) would likely be appropriate. “District courts within this circuit consider four

 factors when deciding whether to transfer venue: (1) the weight accorded to plaintiff's choice of

 venue; (2) witness convenience and access; (3) convenience of the parties; and (4) the interest of

 justice.” Trs. of the Plumbers & Pipefitters Nat’l Pension Fund v. Plumbing Servs., Inc., 791 F.3d

 436, 444 (4th. Cir 2015). Less weight than usual is accorded to Plaintiff’s choice in venue

 considering that another district court has raised concerns about Plaintiff engaging in forum

 shopping related to this matter. See Phila. Pro. Collections LLC v. Crawl Space Door Sys., Inc.,

 2:21-cv-05476, (E.D. Pa. June 3, 2022), ECF No. 14. As to the second factor, the bulk of the



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 evidence in this malpractice action is likely in the Eastern District of Pennsylvania where White

 & Williams is headquartered or in New Jersey where the trial occurred. Additionally, as previously

 noted, the Eastern District of Pennsylvania is already trying a related action which arises out of

 the same representation. Presumably, many of the witnesses would be similar, weighing in favor

 of transfer. Likewise, while the third factor would generally be neutral considering that Plaintiff

 resides in the Eastern District of Virginia and Defendant resides in the Eastern District of

 Pennsylvania, the Eastern District of Pennsylvania is slightly more convenient for the parties since

 the parties are already engaged in litigation in that court. For this same reason, it is in the interest

 of justice—specifically, to promote judicial efficiency and avoid inconsistent judgements—to

 transfer the case to the Eastern District of Pennsylvania. See Jaffe v. LSI Corp., 874 F. Supp. 2d

 499, 505 (E.D. Va. 2012) (“[T]he most prominent elements of [the interest of justice] are judicial

 economy and the avoidance of inconsistent judgments.”). Accordingly, transfer under 1404(a)

 would likely also be appropriate.

                                         IV. CONCLUSION

         For the reasons set forth above, Defendant’s motion to dismiss for lack of personal

 jurisdiction is DENIED. Instead, the Court ORDERS this case be TRANSFERRED to the United

 States District Court for the Eastern District of Pennsylvania. Defendant’s other grounds for

 dismissal in its Motion are DENIED AS MOOT. Defendant may renew these motions in the

 Eastern District of Pennsylvania as it sees fit.

         It is so ORDERED.


                                                                        /s/
                                                         Elizabeth W. Hanes
                                                         United States District Judge
         Norfolk, Virginia
         Date: November 22, 2022

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                                CERTIFICATE OF SERVICE

        I, Farzana Islam, hereby certify that a copy of the foregoing White and Williams LLP’s

Reply Memorandum in Further Support of Motion to Dismiss was served via the Court’s

Electronic Case Filing System on this 26th day of January, 2023 to the following:

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                                                    Farzana Islam




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